Fl|t in this information to identify your case:

 

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UNlTED STATES BANKRUPTCY GOURT

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united states centennin court for the: Ncrlhem Dislricf cl Ga|llorc|a

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(EE known)

 

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amended filing

 

Official Form tO3A
Appltcation for !ndividuals to Pay the Filing Fee in lnst:allments mrs

Be as complete and accurate as pcsstble. lf two married people erc ti|ing together, both are equally responsible for supplying correct
tnformatton.

m Specffy Your Proposed Faymen! "l‘lmetahte

1. Which chapter or the Bantrruptcy Code L_.l Chapter 7
are you choosing to tile under? g Chapter 11
E:l Chapter 12
la Chapter13

2. You may apply to pay the filing fee fn up to
four tnetatlrnents. Flll in the amounts you
propose to pay and the dates you plan to
pay them. lite sure all dates are business

ftc nw -u~»>
days. Than acid the payments you propose ’°' g W"P the filan Of lite
to pay. $_();___ petition é_. w 5th

g On or before this date ........ MM r DD IYYYY

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MM IDD!YWY

You propose to pay...

Ycu must propose to pay the entire fee no

later than 120 days after you file this 3\ G
bankruptcy case. if the court approves your $M
application the court will set your linal

On or before this date ...........

 

payment ttrnetable.
$ On or before this date ........... -_»---~W`|E l DD ’WYY
$ On cr before thls date MM l DD IWYY
Total $M * ¥our total must equal the entire fee for the chapter you checked in line 1 .

 

 

 

By signing here, you state that you are unable to pay the fulfilling fee at oncel that you want to pay the fee tn tnstallments, anct that you
understand that:

 

§ You must pay your entire filing fee before you mal_<e any more payments or transfer any more property to en attorney. bankruptcy petlt|on
preparsr. or anyone else for services in connection with your bankruptcy casa.

3 You must pay the entire fee no later then 120 days after you first tile for bankruptoy_ unless the court later extends your deadline. Your
debts witt not be discharged until your entire feels pa|ct.

§ lf you do not make any payment when it is due. your bankruptcy case may be dismissed, end your rights in other bankruptcy proceedings
may he affected. c

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x Q§& Q {L\AW X
Stgnature et Detztor Slgnsture ot t‘.‘lebtor 2 Your attorneys name and signature tt you used one
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